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CONFIDENTIAL SETTLEMENT AGREEMENT AND GENERAL RELEASE

This Confidential Settlement Agreement and General Release (“Agreement”) is entered
into by and between John Burger (who together with his heirs, executors, administrators,
trustees, attorneys, agents, and/or permitted assigns is referred to herein as “Burger”) and AVI
Foodsystems, Inc. (which together with its related, affiliated, and associated companies, direct or
indirect parent or subsidiary companies, divisions, predecessors, successors, and assigns, and
their owners, officers, directors, agents, employees, and attorneys is referred to herein as the
“Company”). This Agreement is entered into for the purpose of fully and totally releasing and
settling all claims or disputes that Burger has or may have against the Company arising at any
time from the beginning of time to the present, and including, but not limited to, Burger’s
employment with the Company.

RECITALS

WHEREAS, a dispute exists between Burger and the Company regarding Burger's
employment with the Company;

WHEREAS, on June 12, 2018, Burger filed a lawsuit against the Company in the United
States District Court for the Western District of Pennsylvania, Civil Action No. 2:18-cv-768, in
which he asserted a claim for unpaid overtime pursuant to the Fair Labor Standards Act (referred
to herein as the “Lawsuit”;

WHEREAS, the Company denies all allegations made by Burger in the Lawsuit;

WHEREAS, Burger and the Company have reached an agreement in full and final
settlement of all claims that were asserted by Burger or could have been asserted by Burger in
the Lawsuit, as well as all claims that Burger may have against the Company;

WHEREAS, the Company has offered and Burger has accepted consideration that
Burger deems to be of value to him and in addition to that which the Company is required to
provide Burger under the circumstances;

WHEREAS, Burger agrees to dismiss the Lawsuit with prejudice and release all claims
he may have against the Company; and

WHEREAS, Burger and the Company desire to reduce their agreement to writing;

NOW THEREFORE, with the intent to be legally bound, in consideration of the mutual
agreements hereinafter contained, being good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, and to avoid costly litigation, Burger and the
Company agree as follows:

l. Consideration: The Company hereby agrees to remit the total gross amount of
Nineteen Thousand Dollars and No Cents ($19,000.00) to Burger in the manner set forth below
as consideration for the release in Paragraph 3 hereof, the promises and agreements made by
Burger in this Agreement, and in full accord, satisfaction, and final compromise settlement of

 
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any and all claims, charges, demands, actions, causes of action, suits, damages, losses, court
costs, attorneys’ fees, and expenses, of any and every nature whatsoever, known or unknown —
including, but not limited to, any and all claims that Burger may have or claim to have relating to
his employment with the Company and the compensation paid to him by the Company, as well
as any and all claims that Burger may have or claim to have against the Company:

a. A check made payable to Burger’s attorneys, “Lemberg Law, LLC,” in the
amount of Seven Thousand Six Hundred Dollars and No Cents ($7,600.00) for
attorneys’ fees, costs, and expenses. Burger understands that some or all of the
amount specified in this paragraph may be taxable and that the Company is
obligated to report the above amount to the proper taxing authorities and to
provide the proper Form 1099 documentation.

b. A check made payable to “John Burger” in the gross amount of Five Thousand
Seven Hundred Dollars and No Cents ($5,700.00) for backpay wages, minus all
applicable taxes and payroll deductions required by law, as payment for alleged
unpaid wages. The Company is obligated to report the above amount to the
proper taxing authorities and to provide the proper W-2 documentation.

c. A check made payable to “John Burger” in the amount of Five Thousand Seven
Hundred Dollars and No Cents ($5,700.00) for liquidated damages. Burger
understands that some or all of the amount specified in this paragraph may be
taxable and that the Company is obligated to report the above amount to the
proper taxing authorities and to provide the proper Form 1099 documentation.

Prior to receipt of these payments, Burger must provide counsel for the Company with a properly
executed W-4 form from him, and his attorneys must provide counsel for the Company with a
properly executed W-9 form from them. The aforementioned payments shall be made within 10
business days of the later of the following two dates: (1) the Effective Date of this Agreement (as
defined below) or (2) the date counsel for the Company receives the forms referenced above
from both Burger and his attorneys and a properly executed copy of this Agreement. Tender of
the sums detailed above shall constitute an accord and satisfaction and satisfy any and all
obligations of the Company to Burger, whether the same be legal, contractual, equitable,
statutory, or otherwise. Burger will receive no further payments or compensation from the
Company, and Burger shall be responsible for all taxes associated with these payments.

2. Income Taxes: Burger acknowledges and agrees that the Company made no
representations regarding the tax consequences of any amounts received by Burger pursuant to
this Agreement. Burger agrees that he will pay any and all taxes that may be due on account of
any sums of money he receives pursuant to this Agreement and that the Company shall not be
liable for any portion of any such taxes.

3. Release_and Hold Harmless: Burger hereby promises not to sue and forever
releases and discharges the Company from any and all charges, claims, demands, actions, causes
of action, or suits, at law or in equity, of whatsoever kind or nature, losses, costs, attorneys’ fees,
and expenses and damages of any kind, known or unknown, which he may now have or may
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now or hereafter assert against the Company, including, but not limited to, (1) all claims that
Burger may have or claim to have arising out of or resulting from his employment with the
Company; (2) all claims under the Fair Labor Standards Act, Pennsylvania Minimum Wage Act,
Pennsylvania Wage Payment and Collection Law, or any other statutory or common law
provisions; (3) all claims for personal injury and emotional damages; (4) all claims for unpaid
compensation, overtime, minimum wages, and benefits; (5) all contractual or quasi-contractual
rights or claims arising from Burger’s employment; (6) all claims for violation of any rights
under the common law; (7) all claims Burger asserted or could have asserted in the Lawsuit; and
(8) all claims for violation of any rights under any federal, state, or local statute, regulation, or
ordinance, including, but not limited to, Title VIJ of the Civil Rights Act of 1964, the Civil
Rights Act of 1991, the Americans with Disabilities Act, the Age Discrimination in Employment
Act, the Older Workers Benefit Protection Act, the Fair Labor Standards Act, the Pennsylvania
Minimum Wage Act, Pennsylvania Wage Payment and Collection Law, the Pennsylvania
Human Relations Act, the Family and Medical Leave Act, the Rehabilitation Act of 1973, the
Reconstruction Act of 1866, the National Labor Relations Act, the Employee Retirement Income
Security Act of 1974, the Consolidated Omnibus Budget Reconciliation Act, and the Sarbanes
Oxley Act, all as amended to the date hereof, and all other federal, state, and local statutes, rules,
regulations, ordinances, orders, and common law principles, including qui tam actions, except
those claims excluded in Paragraph 4 of this Agreement. This Agreement does not waive or
release any rights or claims Burger may have under the Age Discrimination in Employment Act
that arise after the date Burger signs this Agreement.

4, Claims Excluded from the Agreement: This Agreement does not apply to any
claims or rights that may arise after the date Burger signs this Agreement or to any vested rights
Burger may have under any employee benefit plans. Also excluded from this Agreement are any
claims that cannot be released or waived by law. Nothing in this Agreement shall be construed
to prohibit Burger from filing a charge or complaint challenging the validity of this Agreement;
filing a charge or complaint with, reporting possible violations of any law or regulation, making
disclosures to, and/or participating in any investigation or proceeding conducted by the National
Labor Relations Board, Equal Employment Opportunity Commission, Department of Labor,
Pennsylvania Human Relations Commission, Securities and Exchange Commission, and/or any
federal, state, or local agency charged with the enforcement of employment laws; or participating
in any investigation or proceeding conducted by such administrative agencies. Notwithstanding
the forgoing, to the extent not precluded by law, Burger waives any right to monetary damages
or other relief arising from any such charges, complaints, or claims. Further, nothing set forth
herein prevents Burger from exercising his rights under Section 7 of the National Labor
Relations Act.

3. Dismissal of Lawsuit with Prejudice: In exchange for the consideration set
forth herein, Burger authorizes and directs his attorneys to dismiss the Lawsuit with prejudice
and with each party bearing its own costs and attorneys’ fees, except as provided in this
Agreement. A fully executed and mutually agreed-upon Stipulation for Dismissal with Prejudice
must be filed by counsel for Burger within five business days of receipt of the settlement
payments by Burger’s attorneys, Burger and his attorneys agree to take any and all necessary
action to assist in the dismissal of the Lawsuit with prejudice. If the Court refuses or fails to
dismiss all of the claims against the Company with prejudice, the Company shail have the option
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to: (1) declare this Agreement null and void at which time Burger will immediately return all
monies set forth herein to the Company’s counsel or (2) seek to enforce this Agreement.

6. Acknowledgments: Burger acknowledges and agrees that, upon receipt of the
settlement payment herein, he has been properly paid for all hours worked, that he has received
all overtime and minimum wage payments to which he is entitled, that he has been provided all
compensation that is owed to him, that he has been properly provided any leave of absence
because of his or a family member's health condition, and that he has not been subjected to any
improper treatment, conduct, or actions due to or related to his request for, or his taking of, any
leave of absence because of his own or a family member's health condition. Burger also
acknowledges and agrees that he has not suffered any on-the-job injury for which he has not
already filed a claim. Burger further acknowledges and agrees that, by virtue of the Company’s
promises, representations, and warranties as set forth in this Agreement, he has received fair
economic value for any and all potential claims or causes of action he may have against the
Company and that he is not entitled to any other damages or relief.

7. No Future Charges, Claims, or Lawsuits: With the exception of those matters

referred to in Paragraph 4, Burger promises never to file a claim, lawsuit, demand, action, or
otherwise assert any claims that are released in Paragraph 3 of this Agreement. Burger
represents that, with the exception of the Lawsuit, he has not filed any complaints, claims,
grievances, or actions against the Company with any entity, including any state, federal, or local
agency or court. In addition, Burger agrees not to voluntarily cooperate with or participate in
any litigation, charge, claim, prosecution, or investigation against the Company or its affiliates,
officers, directors, employees, former employees, or agents, except as required by law, in which
case Burger will testify truthfully. Burger further agrees not to solicit, encourage, or assist any
former, current, or future employee of the Company to pursue claims against the Company,
unless he is required by law to provide testimony in a legal proceeding.

8. No Re-employment: Burger agrees that he shall not apply for employment in
any capacity with the Company in the future and waives any right he may have to seek, obtain,
or hold employment in any capacity in the future with the Company. Should he make any
application to obtain such employment, his applications may be disregarded and the Company
will incur no liability. Further, Burger will not accept such employment if it is offered by the
Company, and Burger consents to the termination of his employment at any time without counsel
or liability, should it be determined that he holds employment with the Company.

9. Confidentiality: Burger warrants that, to date, he has kept this document and all
of its terms and conditions confidential, including the fact that he reached a settlement of his
claims with the Company. Burger represents and warrants that he has not discussed, disclosed,
or revealed the Agreement or its terms, directly or indirectly, to any person, corporation, or other
entity, Burger agrees to continue to maintain the confidentiality of this Agreement, which means
that he shail not, presently or in the future, discuss, disclose, or reveal its existence, except
disclosing the existence of this Confidential Settlement Agreement in an agreed-upon Stipulation
of Dismissal with prejudice filed with the Court, or its terms or conditions to any person,
corporation, or entity, except to his financial advisors, attorneys, immediate family members, or
as required by law, but only if he first advises them of this confidentiality provision. In the event
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any individual to whom Burger provides information under this provision violates the
confidentiality obligation set forth herein, such violation will be imputed to Burger and he will
have breached this provision. Additionally, Burger shall not, presently or in the future, discuss,
disclose, or reveal the Agreement's existence or its terms or conditions to any employee or
former employee of the Company. Burger agrees that the only comment he will make about this
matter is that “the Lawsuit has been dismissed,” without making any reference to this Agreement
or its terms. Burger agrees that the foregoing confidentiality provisions are material terms and
conditions of this Agreement. As such, it is expressly agreed, acknowledged, and understood
that any disclosure in violation of the foregoing confidentiality provisions would be a material
breach, and that any breach of these terms as established in a court of law shall result in Burger
being held liable for damages and injunctive relief for each violation. Burger further agrees that
damages of any breach of this confidentiality provision will be extremely difficult to determine.
Because of this difficulty, Burger agrees that in the event of an adjudication that he has breached
the confidentiality provisions of this Agreement, he must pay the Company the sum of One
Thousand Dollars and Zero Cents ($1,000.00) for each proven breach of this confidentiality
provision, Notwithstanding any such relief, all of the other terms of this Agreement, including,
without limitation, Burger’s release of all claims against the Company shall remain in full force
and effect. The remedies provided for in this provision shall not be construed to be exclusive
and do not bar any other claims for relief, either at law or equity. It is the intent of the parties
that all terms of this Agreement may be disclosed to a court of law in an action to enforce the
terms of the Agreement and shall be binding and enforceable upon them in a court of law.

10. Non-Disparagement: Burger agrees not to make or utter any disparaging
remarks about the Company, public or private comments, statements, and/or communications
which in any way disparage or reflect negatively on the Company, unless testifying subject to
court order or subpoena. Nothing in this Agreement shall prohibit Burger from reporting
possible violations of any law or regulation to any governmental agency or entity or making
other disclosures that are protected under the whistleblower provisions of federal or state laws or
regulations. For its part, the Company agrees to instruct any employee of the Company who has
knowledge of this Agreement not to make or utter any disparaging remarks about Burger, public
or private comments, statements, and/or communications which in any way disparage or reflect
negatively on Burger, unless testifying subject to court order or subpoena.

Il, Acknowledgment_of_ Rights and Waiver of Claims Under the Age
Discrimination in Employment Act: Burger acknowledges that he is knowingly and voluntarily
waiving and releasing any rights he may have under the Age Discrimination in Employment Act
of 1967 (“ADEA Claims”). In connection with Burger's release of ADEA Claims, Burger
acknowledges that the consideration given for the waiver and release in the preceding paragraphs
herein is in addition to anything of value to which he was already entitled. Burger further
acknowledges that he has been advised by this writing, as required by the Older Workers’
Benefit Protection Act, that: (a) his waiver and release does not apply to any rights or claims that
may arise after his execution of this Agreement; (b) he should consult with an attorney (and has
done so) prior to executing this Agreement; (c) he has at least 21 days to consider this
Agreement; (d) he has 7 days following his execution of this Agreement to revoke the
Agreement; and (e) this Agreement will become effective on the eighth day following Burger’s
execution of this Agreement (“Effective Date”), Burger may revoke the Agreement by giving
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formal, written notice of his revocation addressed to Timothy S. Anderson, Littler Mendelson,
P.C., 1100 Superior Avenue East, 20th Floor, Cleveland, OH 44114, which must be received by
Mr. Anderson by the close of business on the seventh day following execution of this release by
Burger. Burger understands he may use as much of the 21 day period as he wishes prior to
signing the Agreement. Burger agrees that if he signs and returns this Agreement before the 21
days have passed, he does so of his own free will. Burger further agrees that he has not been
asked by the Company to shorten the time period for considering whether to sign the Agreement.
Burger agrees that the Company has not threatened to withdraw or alter the benefits due to him
under this Agreement prior to the expiration of the 21 day period, nor has the Company provided
different terms to him if he decides to sign the Agreement prior to the expiration of the 2! day
period. Burger agrees that changes to the Agreement, whether material or immaterial, do not
restart the running of the 2] day consideration period. If Burger revokes this Agreement, it shall
not be effective or enforceable, and he shall not receive any of the compensation described in
Paragraph | of the Agreement. Burger understands that rights or claims under the ADEA that
may arise after the date this Agreement is executed by all parties hereto are not waived.

12, Company Property: Burger represents and warrants that, as of the date of this
Agreement, he does not have in his possession, custody, or control any documents, paper or
electronic, originals or copies, compilations, extracts, or summaries, containing the Company’s
trade secrets or confidential information. Burger further represents and warrants that, prior to
signing this Agreement, he has returned all Company property, as well as all documents, both
paper and electronic, originals or copies, containing the Company’s trade secrets or confidential
information that were in his possession and any other material, including handwritten notes,
made or derived from that information. Burger also represents and warrants that he has not
misappropriated any of the Company’s trade secrets or confidential information that he may have
had in his possession, custody, or control.

13. Wage Deduction Orders/Assignment: Burger represents and warrants that he is
not subject to any wage garnishment or deduction orders. Burger further warrants and represents
that he has not assigned, transferred, or conveyed at any time, to any person or entity, or
attempted to assign, transfer, or convey to any person or entity, any alleged right, claim, or cause
of action against the Company relating in any way to any claims released in this Agreement.
Burger agrees to indemnify and hold the Company harmless from any and all claims, demands,
expenses, costs, attorneys’ fees, and causes of action asserted by any person or entity due to a
violation of this provision.

14. Breach: It is understood and agreed that if, at any time, a violation of any term of
this Agreement is asserted by any party hereto, that party shall have the right to seek specific
performance of that term and/or any other necessary and proper relief, including, but not limited
to, damages, from a court of competent jurisdiction, and the prevailing party shall be entitled to
recover its reasonable attorneys’ fees and reasonable costs.

15. Entirety of Agreement and Severability: Burger and the Company agree that if
any provision of this Agreement is declared invalid by a court of competent jurisdiction, such

invalidation shall not affect the remaining provisions of this Agreement, which shall remain in
full force and effect. This Agreement may not be amended except by a writing signed by all the
parties. Burger and the Company acknowledge that no promise or agreement not herein
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expressed has been made to them and that this Agreement contains the entire agreement between
the parties hereto with respect to the matters addressed herein. It supersedes all prior
discussions, negotiations, and agreements with respect to the matters addressed herein, with the
exception of any non-competition, non-solicitation, and confidentiality agreements or obligations
between Burger and the Company.

16. Interpretation: This Agreement has been drafted jointly and there shall be no
presumption of construction against any party. The parties agree that the language of all parts of
this Agreement shall in all cases be construed as a whole, according to its fair meaning, and not
strictly for or against any party.

17. Applicable Law: This Agreement shall be governed by, interpreted under, and
enforced in accordance with the laws of Pennsylvania.

18, Counterparts: This Agreement may be executed in multiple counterparts, via
facsimile, email, PDF, and/or photocopy signature, each of which shall be deemed an original.

19. Neutral Reference: The Company agrees that it will Jimit its response to
inquiries for a reference from any of Burger’s future potential employers to confirmation of his
dates of employment. In order to secure this neutral reference, Burger must direct any
prospective employer to The Work Number at www.theworknumber.com and designate the
Company’s employer code — 15452.

20. Representations: By entering into this Agreement, and in connection with the
release of claims as set forth in Paragraph 3, the parties acknowledge, agree, and represent that:

a. They have entered into this Agreement in order to avoid the substantial costs,
inconvenience, and uncertainties of litigation. The execution of this Agreement
shall not constitute any admission by the Company that it violated any federal,
state, or local statute, ordinance, rule, regulation, or common law, or that any of
Burger's claims had any merit whatsoever. To the contrary, the Company
expressly denies that it violated any of Burger’s rights or that it harmed Burger in
any way. No part of this Agreement, nor any actions of the Company in settling
this matter, shall be considered, constitute, or be cited as an admission by the
Company of any wrongful conduct or violation of law or of any act alleged by
Burger. Nothing herein shall preclude the Company from introducing this
Agreement to establish that Burger’s claims were settled, compromised, and
released according to the terms of this Agreement;

b. This Agreement shall be binding upon and inure to the benefit of the parties
hereto and their heirs, administrators, and representatives, including, but not
limited to, attorneys, executors, successors, and assigns;

c. No promise or inducement has been offered to Burger except as herein set forth;
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d. This Agreement is being executed by Burger and the Company without reliance
upon any statements by the other or their representatives concerning the nature or
extent of any claims or damages or legal liability therefor;

€. This Agreement has been written in understandable language, and all provisions
hereof are understood by Burger and the Company;

f. Burger and the Company have consulted with attorneys of their own choosing
prior to executing this Agreement;

g. Burger has executed this Agreement of his own free will;

h. Burger will receive, pursuant to this Agreement, consideration in addition to
anything of value to which he is already entitled;

i. All claims which were (or could have been) asserted by Burger are hereby
released; and

j. Burger has been given a reasonable period of time within which to consider this
Agreement,

21. BURGER ACKNOWLEDGES THAT THIS IS A RELEASE AND THAT
HE IS RELINQUISHING ALL OF HIS RIGHTS TO SUE. BURGER ALSO
ACKNOWLEDGES THAT HE HAS CONSULTED WITH, AND BEEN ADVISED BY,
AN ATTORNEY OF HIS CHOICE BEFORE EXECUTING THIS AGREEMENT AND
RELEASE. BURGER FURTHER ACKNOWLEDGES THAT HE HAS BEEN
AFFORDED THE OPPORTUNITY TO CONSIDER THIS AGREEMENT AND
RELEASE FOR A REASONABLE PERIOD OF TIME, THAT HE HAS CAREFULLY
READ IT, THAT HE COMPLETELY UNDERSTANDS ITS CONTENTS, THAT HIS
ATTORNEYS HAVE EXPLAINED ALL OF ITS CONTENTS AND RAMIFICATIONS,
AND THAT HE HAS EXECUTED IT OF HIS OWN FREE WILL, ACT, AND DEED
WITHOUT COERCION AND WITH FULL KNOWLEDGE OF THE NATURE AND
CONSEQUENCES THEREOF.
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IN WITNESS WHEREOF, John Burger and AVI Fandeuctame Ine have freely
voluntarily, and knowingly executed this Agreement.

AGREED:

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AVI Foodsystems, Inc.

 

Dated: [Jas foot {
